Case 1:13-cr-00062-HSO-RPM   Document 249   Filed 01/28/15   Page 1 of 7
Case 1:13-cr-00062-HSO-RPM   Document 249   Filed 01/28/15   Page 2 of 7
Case 1:13-cr-00062-HSO-RPM   Document 249   Filed 01/28/15   Page 3 of 7
Case 1:13-cr-00062-HSO-RPM   Document 249   Filed 01/28/15   Page 4 of 7
Case 1:13-cr-00062-HSO-RPM   Document 249   Filed 01/28/15   Page 5 of 7
Case 1:13-cr-00062-HSO-RPM   Document 249   Filed 01/28/15   Page 6 of 7
Case 1:13-cr-00062-HSO-RPM   Document 249   Filed 01/28/15   Page 7 of 7
